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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHEN DISTRICT OF TEXAS
                              HOUSTON DIVISION

ATARAH MCCOY                                §
                                            §
       Plaintiff,                           §
                                            §
vs.                                         §     CIVIL ACTION NO.: 4:23-CV 04127
                                            §     JUDGE CHARLES ESKRIDGE
                                            §
SHAULIS BOOKER AND                          §
TELAMON CORPORATION                         §
                                            §
       Defendants.                          §

                            DEFENDANTS’ PROPOSED
                            QUESTIONS FORVOIR DIRE

Have you heard of the lawyers/law firms in this case?

Have you heard of or do you know the plaintiff?

Have you heard of and do you know Mr. Shaulis Booker or Telamon Corporation?

Do you know defendant’s experts? Dr. Jacob Weinberg, John Laughlin, Dr. Daniel Kim,
Dr. Thomas Cartwright, Dr. Elizabeth Jones.

Have you ever been a party to a lawsuit?

Have you ever been in a car wreck?

Have you ever been on a jury?

Have you ever had an injured back?

Defendants have admitted that they caused the wreck, will that fact influence you to
award all the damages that plaintiff seeks?

No matter the type of lawsuit, could you award money damages if you believed the
plaintiff won?

Could you award over $1,000,000, over $10,000,000?
